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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SHANITA D. SWANSON, Natural )
Mother and Administrator of the )
Estate of Anthony J. Mitchell,  )
                                )
Plaintiff,                      ) Civil Action No: 1:21-cv-00996-CAP
                                )
V.                              )
                                )
FULTON COUNTY, GA, GRADY )
EMS, LLC, JAMES LUSTER,         )
JEREMIAH WHITEHEAD,             )
WILLIAM ROBERTS,                )
JAMES BAUMGARTNER               )
and JEREMY HOLLAND,             )
                                )
Defendants.                     )

                    PLAINTIFF’S INITIAL DISCLOSURES

      COME NOW, Plaintiffs in the above-styled action, and submits their Initial

Disclosures as follows:

                                          1.

      State precisely the classification of the cause of action being filed, a brief

factual outline of the case including plaintiff’s contentions as to what defendant

did or failed to do, and a succinct statement of the legal issues in the case.

RESPONSE:

      Plaintiffs causes of action are: (1) negligent performance of a ministerial
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duties, deliberate indifference and excessive force under 42 U .S.C. § 1983 against

Defendant Fulton County and Fulton County Police Department officers ; (2)

Medical Negligence against Grady EMC, JAMES LUSTER, JEREMIAH

WHITEHEAD, WILLIAM ROBERTS, JAMES BAUMGARTNER and JEREMY

HOLLAND, (5) attorney's fees against all Defendants.            Plaintiffs otherwise

incorporate the allegations and counts set forth in their Amended Complaint.

      On November 16, 2019, Anthony Mitchell was a 19-year-old male with

Autism. On November 16, 2019, Anthony Mitchell arrived to the Bojangles

Restaurant located at 5628 Fulton Industrial Blvd. SW, Atlanta, GA 30336 to have

a meal. While dining at the restaurant, Anthony Mitchell was taunted by Bojangles

Restaurant employees. As a result of being a taunted, a confrontation ensued

between the Anthony Mitchell and the restaurant employees. On November 16,

2019, Fulton County, GA police officers JENNIFER JONES, VICTORIA

WHALEY, DOUGLASS HARDNETT, and DESMOND LOWE responded to a

call for service for an irate customer inside Bojangles Restaurant located at 5628

Fulton Industrial Blvd. SW, Atlanta, GA 30336. Officer Douglas Hardnett arrived

at the business at approximately 2139 hours. Upon arrival, officer Hardnett

observed Anthony Mitchell, a 19-year-old male with Autism, sitting against the

outside of the restaurant, with obvious traumatic injuries to his face. Upon review


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of the video surveillance footage from Bojangles Restaurant, Mr. Mitchell was

involved in an altercation with employees of the restaurant beginning at 2130

hours. The altercation escalated into a physical fight between Mr. Mitchell and at

least five employees of the restaurant. The physical fight resulted in obvious

injuries to Mr. Mitchell’s face and head according to the officers. Mr. Mitchell

was bleeding from the mouth as a result of the fight. Officers Jennifer Jones,

Victoria Whaley and Desmond Lowe arrived to the scene and then restrained Mr.

Mitchell in handcuffs with his arms behind his back, tied a Bojangles apron around

his face (which appeared to be a modified hood) and Plaintiff believes officer

Lowe pressed his knee into Mr. Mitchell’s back, while Mr. Mitchell was inside the

restaurant. Officers Jones, Whaley, Harnett and Lowe then walked Mr. Mitchell

out of the restaurant, bypassed a police vehicle that Mr. Mitchell could have been

placed in, walked Mr. Mitchell through the parking lot and put Mr. Mitchell on the

concrete ground in a prone position with officer Lowe’s knee in his back and the

apron tied across his face. The position that Mr. Mitchell was placed in

compromised Mr. Mitchell’s breathing and contributed to his death. Officers

Jones, Whaley and Hardnett watched officer Lowe place and keep his knee in Mr.

Mitchell’s back for an extended period of time which contributed to the death of

Mr. Mitchell. At 2158 hours, the City of South Fulton County Fire Department


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(FCFD) Engine 13 staffed by Captain James Luster, Sergeant Jeremiah Whitehead

and Firefighter William Roberts, were dispatched to the restaurant to treat Mr.

Mitchell and arrived on scene of the subject event at 2203 hours. Upon arrival on

scene, Captain Luster, Sergeant Whitehead and Firefighter Roberts, found Mr.

Mitchell in the prone position in the parking lot of the business. Captain Luster,

Sergeant Whitehead and Firefighter Roberts, noted that Mr. Mitchell was the

victim of a possible assault and had incurred traumatic injuries, including bleeding

they could see. Based on the information available to Engine 13 personnel, Mr.

Mitchell was a patient with obvious injuries at the time Captain Luster, Sergeant

Whitehead and Firefighter Roberts arrived on scene. Captain Luster recorded in

the incident report that they discussed Mr. Mitchell’s presentation and negotiated

with the officers to leave the scene without providing Mr. Mitchell with any

emergency medical assessment, emergency medical treatment, or emergency

medical transportation. Captain Luster, Sergeant Whitehead and Firefighter

Roberts did not record any of the information related to the subject event in the

appropriate medical legal reporting format indicated for prehospital emergency

medical services patients like Mr. Mitchell. Therefore, the incident report created

by Captain Luster represents the only documentation of the encounter with Mr.

Mitchell related to the subject event and the Engine 13 personnel. The separation


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of the patient/caregiver relationship between Mr. Mitchell and Captain Luster,

Sergeant Whitehead and Firefighter Roberts took place when they left the scene

and Mr. Mitchell was left lying on the ground in the parking lot. Based on their

incident report, Engine 13 departed the scene at 2207 hours which means the total

time Captain Luster, Sergeant Whitehead and Firefighter Roberts spent on scene

was 4 minutes. Approximately 13 minutes after the departure of Captain Luster,

Sergeant Whitehead and Firefighter Roberts, Grady Emergency Medical Services

(Grady EMS) Ambulance Number 800, staffed by Advanced Emergency Medical

Technician (AEMT) James Baumgartner and Paramedic Jeremy Holland, arrived

on scene at 2220 hours, approximately 34 minutes after Mr. Mitchell was

handcuffed and placed prone on the ground in the parking lot. The video

surveillance from the restaurant parking lot shows the Grady EMS ambulance pull

up to the location of the parked patrol vehicles. Grady EMS AEMT Baumgartner

and Grady EMS Paramedic Holland are seen exiting the ambulance without any

medical equipment and walking to the location of Mr. Mitchell and the police

officers on scene. The video footage shows AEMT Baumgartner and Paramedic

Holland of Grady EMS standing in the parking lot for several minutes, then

returning to the ambulance, getting into the driver’s seat and passenger seat, and

leaving the scene. The Grady EMS ambulance departed the scene at 2207 hours,


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approximately 7 minutes after arriving at the restaurant. During their 7 minutes on

scene, AEMT Baumgartner and Paramedic Holland of Grady EMS never

performed the appropriate prehospital assessment of Mr. Mitchell’s condition or

traumatic injuries, never provided Mr. Mitchell with indicated medical treatment of

his traumatic injuries, and never provided Mr. Mitchell with emergency medical

transportation to the closest emergency department staffed and equipped to treat

Mr. Mitchell’s condition. Additionally, AEMT Baumgartner and Paramedic

Holland of Grady EMS never completed any medical documentation about the call

for service regarding Mr. Mitchell and his traumatic injuries. The separation of the

patient/caregiver relationship between Mr. Mitchell and AEMT Baumgartner and

Paramedic Holland of Grady EMS was never documented in a medical document,

and Mr. Mitchell was once again left lying on the ground in the parking lot without

any medical care when Grady EMS employees departed the scene. Mr. Mitchell’s

mother, Shanita Swanson, was contacted by the officers on scene of the subject

event. The officers awaited on scene for Ms. Swanson to arrive at the restaurant to

take her son home after the physical fight. Without any medical caregivers on

scene, custody of Mr. Mitchell was transferred to his legal guardian, Ms. Swanson,

and both drove back to their residence. Incident reports and medical records

establish that Mr. Mitchell received care on November 17, 2019 from Grady


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Memorial Hospital, Grady EMS, and the City of South Fulton County Fire

Department. Approximately 10 minutes after arriving home with Mr. Mitchell,

Ms. Swanson went to check on Mr. Mitchell and found him unconscious and

unresponsive in his bedroom. A 911 call for service was placed from Mr.

Mitchell’s residence at approximately 2307 hours. The units dispatched to the

Mitchell residence were the same City of South Fulton County Fire Department

Engine 13 personnel, Captain James Luster, and Sergeant Jeremiah Whitehead,

Firefighter William Roberts, and Grady EMS Ambulance 800 employees AEMT

James Baumgartner, and Paramedic Jeremy Holland. All the first responders listed

above, were the same EMS personnel that responded to the initial subject event on

November 16, 2019 at the Bojangles’s Restaurant. Upon arrival at Mr. Mitchell’s

residence, Mr. Mitchell was in cardiac arrest and CPR was in progress by family

members. According to the prehospital records, it took 10 minutes for the first

EMS personnel to arrive on scene and they were Captain James Luster, and

Sergeant Jeremiah Whitehead, Firefighter William Roberts with the City of South

Fulton County Fire Department. The Grady EMS ambulance with Grady EMS

AEMT James Baumgartner and Grady EMS Paramedic Jeremy Holland did not

arrive on scene at Mr. Mitchell’s residence until 17 minutes after the initial

dispatch. According to the Patient Care Report completed by Grady EMS


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Paramedic Holland regarding Mr. Mitchell, the Grady EMS employees made

patient contact with Mr. Mitchell at 2327 hours; 20 minutes after the initial 911

call. At the time of patient contact, Mr. Mitchell was in cardiac arrest and had no

detectable heart rhythm. Mr. Mitchell was treated by Grady EMS employees and

the firefighters from City of South Fulton County Fire Department, which was

similar to the Advanced Cardiac Life Support (ACLS) guidelines according to the

Patient Care Report. During the course of treatment provided by Grady EMS

Paramedic Holland for Mr. Mitchell’s cardiac arrest event, there are three separate

forms of Intravenous (IV) access that were established during the treatment and

transportation process. The total time Grady EMS AEMT James Baumgartner and

Grady EMS Paramedic Jeremy Holland spent with Mr. Mitchell during the cardiac

arrest event was 60 minutes. The Grady EMS Patient Care Report does not clarify

the failures with respect to patient treatment and management, and failure to

provide timely transportation to Mr. Mitchell based on the belief by the caregivers

that Mr. Mitchell was suffering from a traumatic cardiac arrest event. Mr. Mitchell

arrived at Grady Memorial Hospital at 0027 hours on November 17, 2019 still in

cardiac arrest. According to hospital records, a Trauma Team was activated to

manage Mr. Mitchell’s care upon his arrival at the emergency department.




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However, 4 minutes after arrival at the Grady Memorial Hospital Emergency

Department, Mr. Mitchell was pronounced dead.

The legal issues to be tried are:

1. Whether the police officers are liable under 42 U.S.C. § 1983 for violations of

deliberate indifference and excessive force for Mr. Mitchell’s pre-death pain and

suffering and death.

2.   Whether Fulton County is liable under 42 U.S.C. § 1983 for violations

regarding established unconstitutional ministerial policies, which led to Mr.

Mitchell’s pre-death pain and suffering and death.

4. Whether the firefighters and paramedics breached the standard of care in their

medical treatment or lack thereof of Anthony Mitchell, and whether their inactions

caused or contributed to the pre-death pain and suffering and death of Anthony

Mitchell.

5. The amount of damages to which Plaintiffs are entitled, including

statutory attorney's fees.




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                                          2.

      Describe in detail all statutes, codes, regulations, legal principles, standards

and customs or usages, and illustrative case law which plaintiff contends are

applicable to this action.

RESPONSE:

a) 42 U.S.C § 1983 (federal civil rights act);

b) 28 U.S.C § 1331 (federal question jurisdiction);

c) 28 U.S.C. § 1343 (jurisdiction for enforcement of civil rights);

d) 28 U.S.C § 1367 (pendant or supplemental jurisdiction of this Court to

hear state law claims);

e) 42 U.S.C. § 1988 (attorney's fees and expenses of litigation);

f)Rogers v. Evans, 792 F.2d 1052 (l1th Ci . 1986)

g) Greason v. Kemp, 891 F.2d 829 (ll th Ci . 1990)

h) Woodall v. Foti, 648 F.2d 268 (5th Cir. 1981)

i) Monell v. Dept. of Soc. Services of City of New York, 436 U.S. 658 (1978)

j) Griffin v. City of Opa-Locka, 261 F.3d 1 95 (1lth Cir. 2001)

k) City of St. Louis v. Praprotnik, 485 U.S. 12 (1988)

l) Jones v. NordicTrack, Inc., 274 Ga. 115 (2001)

m) Chrysler Corp. v. Batten, 264 Ga. 723,724 (1994)

n) Certainteed Corp. v. Fletcher, 300 Ga. 327 (2016)

o) Georgia medical malpractice case law.


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                                          3.

      Provide the name and, if known, the address and telephone number of each

individual likely to have discoverable information that you may use to support your

claims or defenses, unless solely for impeachment, identifying the subjects of the

information. (Attach witness list to Initial Disclosures as Attachment A.)

      RESPONSE: See Attachment A.

                                          4.

      Provide the name of any person who may be used at trial to present evidence

under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all experts

described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written report

satisfying the provisions of that rule.    (Attach expert witness list and written

reports to Responses to Initial Disclosures as Attachment B.)

RESPONSE:

      Plaintiffs will disclose their expert witness according to the time set forth in

the Local Rules of the Northern District of Georgia.

                                          5.

      Provide a copy of, or a description by category and location of, all

documents, data compilations, and tangible things in your possession, custody or

control, that you may use to support your claims or defenses unless solely for



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impeachment, identifying the subjects of the information. (Attach document list

and descriptions to Initial Disclosures as Attachment C.)

      RESPONSE: See Attachment C.

                                         6.

      In the space provided below, provide a computation of any category of

damages claimed by you. In addition, include a copy of, or describe by category

and location of, the documents or other evidentiary material, not privileged or

protected from disclosure, on which such computation is based, including

materials bearing on the nature and extent of injuries suffered, making such

documents or evidentiary material available for inspection and copying as under

Fed. R. Civ. P. 34. (Attach any copies and descriptions to Initial Disclosures as

Attachment D.)

RESPONSE:

      The categories of damages included within Plaintiff’s Amended Complaint

are the following:


a. Special and compensatory damages against all Defendants for the pre-death

pain and suffering and the value of the life of Anthony Mitchell;


b. Punitive damages against all Defendants sued in their individual capacities;



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c. Pre-judgment and post-judgment interest;


d. Litigation costs and attorneys' fees under 42. U.S.C. § 1988.


                                           7.

      Attach for inspection and copying as under Fed. R. Civ. P. 34 any insurance

agreement under which any person carrying on an insurance business may be

liable to satisfy part or all of a judgment which may be entered in this action or to

indemnify or reimburse for payments made to satisfy the judgment. (Attach copy of

insurance agreement to Initial Disclosures as Attachment E.)

RESPONSE:

      All applicable insurance agreements are in the Defendants' possession.

                                           8.

      Disclose the full name, address, and telephone number of all persons or

legal entities who have a subrogation interest in the cause of action set forth in

plaintiff’s cause of action and state the basis and extent of such interest.

RESPONSE:

      Plaintiffs are not aware of anyone having a subrogation interest at the time

of the filing of Plaintiffs' complaint. Plaintiffs will amend this disclosure if

information becomes known regarding any claimed subrogation interest.




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     This 9th day of April, 2021.



                        Respectfully Submitted,

                        /s/ Michael D. Harper
                        MICHAEL D. HARPER
                        Georgia Bar No. 328378
                        Attorney for Plaintiff

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                PLAINTIFFS’ INITIAL DISCLOSURES

                             ATTACHMENT A

1. Shanita Swanson, Mother and Administrator of the Estate of Anthony
   Mitchell C/O Plaintiff’s Counsel can testify to the facts of the case, and the
   life and character of Anthony Mitchell.

2. Family members and individuals who knew Anthony Mitchell C?O
   Plaintiff’s Counsel can testify to the facts of the case, and the life and
   character of Anthony Mitchell.

3. Any doctor, nurse or medical professional who provided care and treatment
   to Anthony Mitchell can provide testimony regarding the incident in
   question.

4. Fulton County Medical Examiner’s Office
   Atlanta, GA 30303. Can provide testimony regarding William Barnett’s
   cause and manner or death.

5.   Fulton County Board of Commissioners
     Atlanta, GA 30303
     Can testify regarding oversight and funding of the Fulton County Jail.

6. Defendant Grady EMS LLC
   Can be contacted through Counsel of Record can provide information
   regarding the incident.

7. Defendant James Luster
   Can be contacted through 'Counsel of Record can provide information
   regarding the incident.

8. Defendant Jeremiah Whitehead
   Can be contacted through Counsel of Record can provide information
   regarding the incident.




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9.    Defendant William Roberts
      Can provide information regarding the incident.

10.   Defendant James Baumgartner
      Can be contacted through Counsel of Record Can provide information
      regarding the incident.

11.   Defendant Jeremy Holland
      Can be contacted through Counsel of Record Can provide information
      regarding the incident.

12.   Unnamed employees of Bojangles Restaurant located at 5628 Fulton
      Industrial Blvd. SW, Atlanta, Georgia 30336 can provide information
      regarding the incident and any prior incidents involving decedent Anthony
      Mitchell; can also confirm discoverable information including video
      recordings.

13.   Fulton County Police Officer Desmond Lowe
      Can be contacted through Counsel for Fulton County Can provide
      information regarding the incident.

14. Fulton County Police Officer Douglas Hardnett
     Can be contacted through Counsel for Fulton County Can provide
     information regarding the incident.

15.   Fulton County Police Officer Jennifer Jones
      Can be contacted through Counsel for Fulton County Can provide
      information regarding the incident

16.   Fulton County Police Officer Victoria Whaley
      Can be contacted through Counsel for Fulton County Can provide
      information regarding the incident

17.   Any law enforcement professionals who investigated the incident in question
      can potentially provide testimony regarding the incident in question




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Plaintiff reserves the right to supplement this response as additional information is
obtained in discovery.




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                   PLAINTIFF’S INITIAL DISCLOSURES

                                ATTACHMENT B

      Plaintiff will disclose her expert witness according to the time set forth in

the Local Rules of the Northern District of Georgia.




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                      PLAINTIFF’S INITIAL DISCLOSURES

                                 ATTACHMENT C


   1.     Fulton County Police use of force training materials and reports

   2.     Fulton County Police policies and procedures

   3.     Any and all incidents reports, logs, documents and video

          footage held by Fulton County Police Jail regarding Anthony

          Mitchell.

   4.     Anthony Mitchell’s medical records from Grady Hospital

   5.     Fulton County Police Internal affairs investigation documents

   6.     Fulton County Police body camera footage

   7.     Personnel records of police officers involved in this incident.

   8.     Grady EMS training, policies and procedures

   9.     City of South Fulton policies and procedures


        Plaintiff reserves the right to supplement this response as additional

information is obtained in discovery.




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(B) in Times New Roman 14-point

typeface.

                          CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing

Plaintiff’s Initial Disclosures with the Clerk of Court using the CM/ECF system

which will automatically send the Amended Complaint, and email notifications of

such filing to the parties and/or attorneys of record.



      This 9th day of April, 2021.



                           Respectfully Submitted,

                           /s/ Michael D. Harper
                           MICHAEL D. HARPER
                           Georgia Bar No. 328378
                           Attorney for Plaintiff

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